Case 1:24-mc-00242-AKH Document14 Filed 07/11/24 Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Ex Parte Application of Petronas Azerbaijan
(Shah Deniz) $.4 r.1 and Petronas South Caucasus
S.ar.l, pursuant to 28 U.S.C. § 1782 to Conduct
Discovery for Use in Foreign Proceedings,

Petitioners

Misc. Case No. 24-me-242

ORDER APPROVING APPLICATION OF PETRONAS
AZERBAIJAN (SHAH DENIZ) S.A R.L AND PETRONAS SOUTH
CAUCASUS S.A R.L, PURSUANT TO 28 U.S.C. § 1782 TO
CONDUCT DISCOVERY FOR USE IN FOREIGN PROCEEDINGS

This case comes before the Court on the Ex Parte Application for an Order Pursuant to 28

U.S.C. § 1782 to Conduct Discovery for Use in Foreign Proceedings (the “Application”), filed by

Petitioners Petronas Azerbaijan (Shah Deniz) 8.a 1.1 and Petronas South Caucasus S.a r.1 on May

28, 2024, This Court, having reviewed the Application, the Memorandum of Law in support

thereof, the Declarations of Gonzalo S. Zeballos, Pedro Soriano Mendiara, and Fabio Trevisan,

together with the exhibits attached thereto, and the proposed subpoenas, finds that (1) the statutory

requirements of 28 U.S.C, § 1782 are satisfied, and (2) the factors identified by the Supreme Court

of the United States in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004), weigh in

favor of granting Petitioners’ Application.

It is therefore ORDERED that Petitioners are granted to leave to serve the subpoenas

attached as Exhibits B-O to the Application on: Evergreen Parent GP LLC; Therium Capital

Management (USA) Inc.; Deutsche Bank AG; HSBC Bank USA; Citibank, N.A.; JP Morgan Chase

& Co.; The Bank of New York Mellon; UBS AG; UniCredit Bank GmbH; UniCredit S.p.A.; Banco

Santander, $.A.; Banco Bilbao Vizcaya Argentaria, $.A,; CaixaBank, S.A.; and Banco de Sabadell,

S.A., respectively.

